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                                                                                                                                                                                                     CLO Research
                                                                                                                                                                                                     J.P. Morgan Securities LLC
                                                                                                                                                                                                     New York
                                                                                                                                                                                                     January 29, 2018




     CLO Weekly New Issue Datasheet
                                                                                                                Summary
     Rishad Ahluwalia                                                                                           Deal Issuance
     (44-20) 7134-0254                                                                                          Tranche Issuance
     rishad.ahluwalia@jpmorgan.com                                                                              YTD Issuance Totals
     J.P. Morgan Securities plc                                                                                 YTD AM League Table
                                                                                                                CLO Spreads Rolling 1 Year
     Jacob T Kurosaki, CFA
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     jacob.t.kurosaki@jpmorgan.com
     J.P. Morgan Securities LLC

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      The data sources contained in this report are J.P. Morgan, unless otherwise indicated.

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Date          Year      Issuer Series                                                  Funded Amount ($mm)          Comments
   1/26/2018       2018 Benefit Street Partners CLO 2015-8R                                               522.558   Refinance/Reset
   1/26/2018       2018 Venture CLO 2015-22R                                                                580.5   Refinance/Reset
   1/26/2018       2018 Apidos CLO 2013-12R                                                                 485.2   Refinance/Reset
   1/26/2018       2018 Carlyle US CLO 2013-4R                                                                386   Refinance/Reset
   1/26/2018       2018 Highland CLO (fka ACIS CLO 2014-3) 2014-3R                                            375   Refinance/Reset
   1/24/2018       2018 Lockwood Grove CLO 2014-1R                                                          367.5   Refinance/Reset
   1/23/2018       2018 Voya CLO 2016-1R                                                                    384.1   Refinance/Reset
   1/22/2018       2018 Canyon Capital CLO 2014-1R                                                            381   Refinance/Reset
   1/22/2018       2018 Sound Point II CLO 2013-1R                                                         517.00   Refinance/Reset
   1/19/2018       2018 RR CLO 3 (ALM CLO 2014-14) 2014-14R                                               1394.65   Refinance/Reset
   1/18/2018       2018 Venture CLO 2014-16R                                                                  463   Refinance/Reset
   1/17/2018       2018 Greywolf CLO LTD 2015-1R                                                              653   Refinance/Reset
   1/17/2018       2018 HPS Loan Management 2014-4R                                                        524.56   Refinance/Reset
   1/16/2018       2018 Telos 2013-4R                                                                       329.2   Refinance/Reset
   1/11/2018       2018 CIFC Funding LTD 2014-1R                                                            574.6   Refinance/Reset
   1/10/2018       2018 Shackleton CLO LTD 2013-3R                                                          499.5   Refinance/Reset
     1/4/2018      2018 Great Lakes CLO LTD 2015-1R                                                        363.56   Refinance/Reset
  12/22/2017       2017 Wind River CLO LTD 2014-2R                                                         591.15   Refinance/Reset
  12/21/2017       2017 OCTAGON INVESTMENT PARTNERS XXII LTD 2014-1R                                      664.369   Refinance/Reset
  12/21/2017       2017 ANCHORAGE CAPITAL CLO LTD 2014-5R                                                 506.475   Refinance/Reset
  12/12/2017       2017 CIFC Funding LTD 2015-1R                                                           563.15   Refinance/Reset
  12/12/2017       2017 Voya CLO 2015-1R                                                                    566.5   Refinance/Reset
  12/11/2017       2017 Golub Capital Partners CLO 2015-22(B)R                                            463.785   Refinance/Reset
  12/11/2017       2017 Stewart Park CLO LTD 2015-1R                                                      820.016   Refinance/Reset
   12/8/2017       2017 GOLDENTREE LOAN OPPORTUNITIES XI LTD 2015-11R                                       510.5   Refinance/Reset
   12/8/2017       2017 Eaton Vance CDO LTD 2015-1R                                                           379   Refinance/Reset
   12/8/2017       2017 PALMER SQUARE CLO LTD 2014-1R                                                       375.4   Refinance/Reset
   12/7/2017       2017 Golub Capital Partners 2014-21R                                                     612.3   Refinance/Reset
   12/6/2017       2017 Dryden Senior Loan Fund 2015-37R                                                  449.455   Refinance/Reset
   12/6/2017       2017 KVK CLO LTD 2013-1R                                                                432.16   Refinance/Reset
   12/6/2017       2017 Babson CLO LTD 2013-1R                                                             539.66   Refinance/Reset
   12/1/2017       2017 MidOcean Credit CLO 2013-2R                                                           372   Refinance/Reset
   12/1/2017       2017 CATAMARAN CLO LTD 2013-1R                                                          509.35   Refinance/Reset
  11/27/2017       2017 CIFC Funding LTD 2012-2R                                                           505.45   Refinance/Reset
  11/21/2017       2017 Ivy Hill Middle Market Credit Fund LTD 2014-9R                                    298.914   Refinance/Reset
  11/20/2017       2017 Golub CLO 2015-23(B)R                                                             566.185   Refinance/Reset
  11/20/2017       2017 Carlyle Global Market Strategies 2013-2R                                              514   Refinance/Reset
  11/16/2017       2017 YORK CLO LTD 2015-1R                                                                  666   Refinance/Reset
  11/15/2017       2017 MARATHON CLO LTD 2013-5R                                                            543.8   Refinance/Reset
  11/13/2017       2017 CARLYLE GLOBAL MARKET STRATEGIES 2013-3R                                           479.65   Refinance/Reset
   11/9/2017       2017 Saranac CLO LTD 2014-2R                                                               319   Refinance/Reset
   11/8/2017       2017 Atlas Senior Loan Fund LTD 2013-1R                                                 385.83   Refinance/Reset
   11/7/2017       2017 Dryden Senior Loan Fund 2013-30R                                                 478.0265   Refinance/Reset
   11/2/2017       2017 American Money Management Corporation 2013-12R                                        384   Refinance/Reset
   11/1/2017       2017 KKR Financial CLO 11 LTD 2015-11R                                                   510.4   Refinance/Reset
  10/31/2017       2017 Ares CLO LTD 2015-4R                                                                  658   Refinance/Reset
  10/25/2017       2017 ICG US CLO LTD 2014-1R                                                            338.515   Refinance/Reset
  10/23/2017       2017 Ivy Hill Middle Market Credit Fund LTD 2013-7R                                     375.25   Refinance/Reset
  10/17/2017       2017 Golub Capital Partners CLO 2015-24R                                               795.705   Refinance/Reset
  10/16/2017       2017 Catamaran CLO LTD 2014-1R                                                           627.5   Refinance/Reset
  10/12/2017       2017 Barings CLO LTD 2015-2R                                                            472.45   Refinance/Reset
  10/12/2017       2017 Mountain View CLO 2013-1R                                                          379.52   Refinance/Reset
  10/11/2017       2017 BlueMountain CLO LTD 2013-2R                                                       395.65   Refinance/Reset
   10/6/2017       2017 HPS Investment Partners 2013-2R                                                     489.4   Refinance/Reset
   10/6/2017       2017 Great Lakes CLO LTD 2014-1R                                                           349   Refinance/Reset
   10/6/2017       2017 Tralee CDO LTD 2014-3R                                                             414.75   Refinance/Reset
   10/6/2017       2017 Marble Point 3 CLO (f/k/a ACAS CLO 2013-1) 2013-1R                                    371   Refinance/Reset
   10/5/2017       2017 Clear Creek CLO LTD 2015-1R                                                         278.5   Refinance/Reset
   10/5/2017       2017 GREYWOLF CLO LTD 2013-2R                                                            387.5   Refinance/Reset
   10/5/2017       2017 Cathedral Lake LTD 2013-1R                                                          444.5   Refinance/Reset
   10/4/2017       2017 Venture CDO LTD 2014-18R                                                              553   Refinance/Reset
   10/3/2017       2017 Galaxy CLO LTD 2013-15R                                                             517.5   Refinance/Reset
   10/2/2017       2017 ELEVATION CLO LTD (f/k/a Arrowpoint 2014-2) 2014-2R                                 488.8   Refinance/Reset
   10/2/2017       2017 WIND RIVER CLO LTD 2013-2R                                                         481.23   Refinance/Reset
   9/29/2017       2017 VOYA CLO LTD 2013-1R                                                                  566   Refinance/Reset
   9/29/2017       2017 MADISON PARK FUNDING CLO XVIII 2015-18R                                               690   Refinance/Reset
   9/29/2017       2017 GOLUB CAPITAL PARTNERS CLO 18(M)-R 2014-18R                                       780.129   Refinance/Reset


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9/28/2017   2017   CIFC FUNDING CLO 2013-2R                                                   590.5   Refinance/Reset
9/28/2017   2017   DENALI CAPITAL CLO X 2013-1R                                               323.1   Refinance/Reset
9/27/2017   2017   DRYDEN SENIOR LOAN FUND 2012-25R                                           674.2   Refinance/Reset
9/26/2017   2017   MCF CLO LLC 2014-1R                                                     399.891    Refinance/Reset
9/25/2017   2017   OCP CLO LTD 2014-6R                                                        932.9   Refinance/Reset
9/21/2017   2017   Anchorage Capital CLO 2013-1R                                              516.1   Refinance/Reset
9/20/2017   2017   Neuberger Berman CLO LTD 2013-15R                                          379.9   Refinance/Reset
8/31/2017   2017   OZLM Funding LTD 2013-4R                                                  562.74   Refinance/Reset
8/28/2017   2017   Venture CDO LTD 2013-13R                                                     531   Refinance/Reset
8/28/2017   2017   Race Point CLO LTD 2015-9R                                              478.955    Refinance/Reset
8/25/2017   2017   Saranac V (fka Saranac CLO I) 2013-1R                                      320.2   Refinance/Reset
8/25/2017   2017   Garrison Funding LTD 2015-1R                                               374.7   Refinance/Reset
8/18/2017   2017   Benefit Street Partners CLO LTD 2015-6R                                 588.255    Refinance/Reset
8/16/2017   2017   KKR Financial CLO LTD 2014-10R                                             369.3   Refinance/Reset
8/15/2017   2017   Venture CDO LTD 2013-14R                                                  527.25   Refinance/Reset
 8/9/2017   2017   Galaxy XIX CLO 2015-19                                                     467.7   Refinance/Reset
 8/9/2017   2017   Golub Capital Partners CLO LTD 2013-17R                                   785.95   Refinance/Reset
 8/8/2017   2017   OZLM XI 2015-11R                                                          501.48   Refinance/Reset
 8/7/2017   2017   Madison Park XI Reset 2013-11R                                       501.773685    Refinance/Reset
 8/3/2017   2017   Dryden Senior Loan Fund 2013-28R                                           493.2   Refinance/Reset
7/25/2017   2017   OCP CLO LTD 2016-11R                                                       457.3   Refinance/Reset
7/25/2017   2017   Carlyle Global Market Strategies 2013-1R                                     552   Refinance/Reset
7/21/2017   2017   CIFC Funding LTD 2013-1R                                                     467   Refinance/Reset
7/21/2017   2017   York CLO LTD 2016-1R                                                      607.75   Refinance/Reset
7/20/2017   2017   RR CLO (ALM 2013-10) 2017-1R                                              700.75   Refinance/Reset
7/19/2017   2017   Tralee CLO LTD 2013-1R                                                     376.5   Refinance/Reset
7/14/2017   2017   OZLM Funding 2012-1R                                                       469.5   Refinance/Reset
7/13/2017   2017   Telos CLO LTD 2013-3R                                                     441.75   Refinance/Reset
7/11/2017   2017   Silver Creek CLO 2014-1R                                                     322   Refinance/Reset
7/10/2017   2017   AMMC CLO XIV LTD 2014-14R                                                  370.8   Refinance/Reset
 7/7/2017   2017   Cathedral Lake LTD 2015-2R                                                372.15   Refinance/Reset
 7/6/2017   2017   Atlas Senior Loan Fund LTD 2014-1R                                         462.6   Refinance/Reset
 7/5/2017   2017   Benefit Street Partners CLO 2013-3R                                        467.7   Refinance/Reset
6/30/2017   2017   Bain Capital Credit CLO LTD 2013-3R                                      437.05    Refinance/Reset
6/30/2017   2017   CFIP CLO 2014-1R                                                           446.8   Refinance/Reset
6/30/2017   2017   Mariner CLO 2016-3R                                                          460   Refinance/Reset
6/29/2017   2017   Wind River CLO LTD 2013-1R                                                 415.7   Refinance/Reset
6/28/2017   2017   HPS Loan Management LTD 2014-3R                                              470   Refinance/Reset
6/27/2017   2017   Cathedral Lake CLO 2015-3R                                                   368   Refinance/Reset
6/27/2017   2017   Anchorage Capital CLO LTD 2015-6R                                         524.05   Refinance/Reset
6/27/2017   2017   Octagon Investment Partners XV LTD 2013-1R                                 458.8   Refinance/Reset
6/27/2017   2017   Palmer Square CLO LTD 2015-2R                                              523.6   Refinance/Reset
6/23/2017   2017   MP CLO IV 2013-2                                                             372   Refinance/Reset
6/23/2017   2017   Golub Capital Partners CLO 2013-16R                                       619.66   Refinance/Reset
6/23/2017   2017   AMMC CLO 2013-13R                                                          377.8   Refinance/Reset
6/13/2017   2017   Benefit Street Partners CLO LTD 2013-2R                                      465   Refinance/Reset
 6/9/2017   2017   Cedar Funding LTD 2013-1R                                                    324   Refinance/Reset
 6/9/2017   2017   Ares CLO LTD 2013-2R                                                         373   Refinance/Reset
 6/9/2017   2017   KKR Financial CLO LTD 2014-9R                                              462.9   Refinance/Reset
 6/6/2017   2017   Battalion CLO LTD 2015-8R                                                 458.15   Refinance/Reset
 6/6/2017   2017   Figueroa CLO LTD 2013-2R                                                     359   Refinance/Reset
5/23/2017   2017   Madison Park Funding LTD 2015-17R                                          751.3   Refinance/Reset
5/12/2017   2017   Steele Creek CLO LTD 2015-1R                                            328.375    Refinance/Reset
5/11/2017   2017   LCM LTD Partnership 2014-15R                                              570.95   Refinance/Reset
5/11/2017   2017   Palmer Square CLO LTD 2015-1R                                              698.5   Refinance/Reset
 5/9/2017   2017   Octagon Investment Partners XIV 2012-1R                                   674.36   Refinance/Reset
 5/4/2017   2017   Oaktree CLO LTD 2014-1R                                                   399.95   Refinance/Reset
4/28/2017   2017   Neuberger Berman CLO 2014-17R                                             540.35   Refinance/Reset
4/19/2017   2017   Neuberger Berman CLO LTD 2013-14R                                         382.43   Refinance/Reset
4/12/2017   2017   Ziggurat CLO LTD 2014-1R                                                   473.5   Refinance/Reset
4/11/2017   2017   CFIP CLO LTD 2013-1R                                                    489.276    Refinance/Reset
4/11/2017   2017   OCP CLO LTD 2013-4R                                                      583.57    Refinance/Reset
 4/7/2017   2017   Longfellow Place CLO Ltd 2013-1R                                           476.9   Refinance/Reset
 4/7/2017   2017   Canyon Capital CLO LTD 2015-1R                                          391.775    Refinance/Reset
 4/7/2017   2017   Venture CLO LTD 2012-10R                                                   383.5   Refinance/Reset
 4/7/2017   2017   Canyon Capital CLO LTD 2014-2R                                             370.7   Refinance/Reset
 4/7/2017   2017   Cedar Funding LTD 2014-4R                                                  532.4   Refinance/Reset
 4/3/2017   2017   KKR Financial CLO LTD 2013-1R                                               463    Refinance/Reset


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3/31/2017   2017   Voya CLO LTD 2014-2R                                            535.8   Refinance/Reset
3/30/2017   2017   Mariner CLO 2015-1R                                             460.5   Refinance/Reset
3/30/2017   2017   Atrium CDO CORP 2013-9R                                       875.927   Refinance/Reset
3/29/2017   2017   AMMC CLO 2015-16R                                                 466   Refinance/Reset
3/15/2017   2017   Palmer Square CLO 2013-2R                                     468.486   Refinance/Reset
2/14/2017   2017   Venture CDO LTD 2012-12R                                          666   Refinance/Reset
 2/9/2017   2017   Race Point CLO LTD 2013-8R                                      684.4   Refinance/Reset




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